                                                                  FILED
                          NOT FOR PUBLICATION                     FEB 19 2014

                                                             MOLLY C. DWYER, CLERK
                 UNITED STATES COURT OF APPEALS               U.S. COURT OF APPEALS



                          FOR THE NINTH CIRCUIT


CINDY LEE GARCIA,                       No. 12-57302

            Plaintiff - Appellant,      D.C. No. 2:12-cv-08315-MWF-
                                        VBK
  v.

GOOGLE, INC., a Delaware
Corporation; YOUTUBE, LLC, a            ORDER
California limited liability company,

            Defendants - Appellees,

  and

NAKOULA BASSELEY NAKOULA,
an individual, AKA Sam Bacile; MARK
BASSELEY YOUSSEF; ABANOB
BASSELEY NAKOULA; MATTHEW
NEKOLA; AHMED HAMDY; AMAL
NADA; DANIEL K. CARESMAN;
KRITBAG DIFRAT; SOBHI BUSHRA;
ROBERT BACILY; NICOLA
BACILY; THOMAS J. TANAS;
ERWIN SALAMEH; YOUSSEFF M.
BASSELEY; MALID AHLAWI,

            Defendants.



Before:    KOZINSKI, Chief Judge, GOULD and N.R. SMITH, Circuit
           Judges.
                                                                                  page 2
      Google, Inc. shall take down all copies of “Innocence of Muslims” from

YouTube.com and from any other platforms under Google’s control, and take all

reasonable steps to prevent further uploads of “Innocence of Muslims” to those

platforms. Google shall comply with this order within twenty-four hours of the

issuance thereof.

      Neither the parties nor counsel shall disclose this order, except as necessary

to the takedown process, until the opinion in this case issues. This order will

remain in effect until such time as the district court enters a preliminary injunction

consistent with our opinion.
